     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 1 of 38 Page ID #:1




 1    Laurence M. Rosen, Esq. (SBN 219683)
 2    THE ROSEN LAW FIRM, P.A.
      355 South Grand Avenue, Suite 2450
 3    Los Angeles, CA 90071
 4    Telephone: (213) 785-2610
      Facsimile: (213) 226-4684
 5    Email: lrosen@rosenlegal.com
 6
      Counsel for Plaintiff
 7
 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10      MANIRAJ ASHIRWAD GNANARAJ,                 Case No.
11      Individually and on behalf of all others
        similarly situated,                        CLASS ACTION COMPLAINT FOR
12
                                                   VIOLATION OF THE FEDERAL
13            Plaintiff,                           SECURITIES LAWS
14
              v.                                   JURY TRIAL DEMANDED
15
16      LILIUM N.V. F/K/A QELL
        ACQUISITION CORP., BARRY
17      ENGLE, DANIEL WIEGAND, and
18      GEOFFREY RICHARDSON,
19
              Defendants.
20
21
22          Plaintiff Maniraj Ashirwad Gnanaraj (“Plaintiff”), individually and on behalf
23    of all other persons similarly situated, by Plaintiff’s undersigned attorneys, for
24    Plaintiff’s complaint against Defendants (defined below), alleges the following
25    based upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and
26    information and belief as to all other matters, based upon, inter alia, the
27    investigation conducted by and through his attorneys, which included, among other
28                                          –1–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                    SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 2 of 38 Page ID #:2




 1    things, a review of the Defendants’ public documents, announcements, United
 2    States Securities and Exchange Commission (“SEC”) filings, wire and press
 3    releases published by and regarding Lilium N.V. f/k/a Qell Acquisition Corp.
 4    (“Lilium” or the “Company”), and information readily obtainable on the Internet.
 5    Plaintiff believes that substantial evidentiary support will exist for the allegations
 6    set forth herein after a reasonable opportunity for discovery.
 7
                                NATURE OF THE ACTION
 8
            1.     This is a class action on behalf of persons or entities who purchased or
 9
      otherwise acquired publicly traded Lilium securities between March 30, 2021 and
10
      March 14, 2022, inclusive (the “Class Period”). Plaintiff seeks to recover
11
      compensable damages caused by Defendants’ violations of the federal securities
12
      laws under the Securities Exchange Act of 1934 (the “Exchange Act”).
13
14                             JURISDICTION AND VENUE

15          2.     The claims asserted herein arise under and pursuant to §§10(b) and
16    20(a) of the Exchange Act (15 U.S.C. §§78j(b) and §78t(a)) and Rule 10b-5
17    promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
18          3.     This Court has jurisdiction over the subject matter of this action under
19    28 U.S.C. §1331 and §27 of the Exchange Act.
20          4.     Venue is proper in this judicial district pursuant to §27 of the Exchange
21    Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered
22    and the subsequent damages took place in this judicial district.
23          5.     In connection with the acts, conduct and other wrongs alleged in this
24
      Complaint, Defendants (defined below), directly or indirectly, used the means and
25
      instrumentalities of interstate commerce, including but not limited to, the United
26
27
28                                –2–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 3 of 38 Page ID #:3




 1    States mail, interstate telephone communications and the facilities of the national
 2    securities exchange.
 3                                         PARTIES
 4          6.     Plaintiff, as set forth in the accompanying Certification, purchased the
 5    Company’s securities at artificially inflated prices during the Class Period and was
 6    damaged upon the revelation of the alleged corrective disclosure.
 7
            7.     Defendant Lilium purports to be a next-generation transportation
 8
      company focused on developing an electric vertical take-off-and-landing
 9
      (“eVTOL”) aircraft, the Lilium Jet, for use in a new type of high-speed air transport
10
      system for people and goods.
11
            8.     Defendant Lilium is incorporated in the Netherlands with its principal
12
      executive offices at Claude-Dornier Strasse 1, Bldg. 335, 82234 Wessling, Germany.
13
14    The Company’s shares trade on the NASDAQ exchange under the ticker symbol

15    “LILM.” Prior to the merger on September 14, 2021 between Qell Acquisition Corp.,
16    a special purpose acquisition company (“SPAC”) or blank check company, and
17    Lilium GmbH (the “Merger”), the Company’s shares traded under the ticker symbol
18    “QELL.”
19          9.     Defendant Barry Engle (“Engle”) served as the founder and Chief
20    Executive Officer (“CEO”) of the Company prior to the Merger. Following the
21    Merger, Defendant Engle has served as a Director of the Company.
22          10.    Defendant Daniel Wiegand (“Wiegand”) has served as the CEO and a
23    Director of the Company following the Merger. Prior to the Merger, Defendant
24
      Wiegand served as the founder and CEO of Lilium GmbH.
25
26
27
28                                –3–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 4 of 38 Page ID #:4




 1          11.   Defendant Geoffrey Richardson (“Richardson”) has served as the Chief
 2    Financial Officer (“CFO”) of the Company following the Merger. Prior to the
 3    Merger, Defendant Richardson served as Lilium GmbH’s CFO.
 4          12.   Defendants Engle, Wiegand, and Richardson are sometimes referred
 5    to herein as the “Individual Defendants.”
 6          13.   The Individual Defendants:
 7
            (a)   directly participated in the management of the Company;
 8
            (b)   were directly involved in the day-to-day operations of the Company at
 9
                  the highest levels;
10
            (c)   were privy to confidential proprietary information concerning the
11
                  Company and its business and operations;
12
            (d)   were directly or indirectly involved in drafting, producing, reviewing
13
14                and/or disseminating the false and misleading statements and

15                information alleged herein;
16          (e)   were directly or indirectly involved in the oversight or implementation
17                of the Company’s internal controls;
18          (f)   were aware of or recklessly disregarded the fact that the false and
19                misleading statements were being issued concerning the Company;
20                and/or
21          (g)   approved or ratified these statements in violation of the federal
22                securities laws.
23          14.   The Company is liable for the acts of the Individual Defendants and its
24
      employees under the doctrine of respondeat superior and common law principles
25
      of agency because all of the wrongful acts complained of herein were carried out
26
      within the scope of their employment.
27
28                                –4–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 5 of 38 Page ID #:5




 1          15.    The scienter of the Individual Defendants and other employees and
 2    agents of the Company is similarly imputed to the Company under respondeat
 3    superior and agency principles.
 4          16.    The Company and the Individual Defendants are referred to herein,
 5    collectively, as the “Defendants.”
 6                            SUBSTANTIVE ALLEGATIONS
 7
                        Materially False and Misleading Statements
 8
            17.    On March 30, 2021, the Company filed with the SEC a current report
 9
      on Form 8-K which was signed by Defendant Engle. The 8-K included, in pertinent
10
      part, a press release dated March 30, 2021 which announced the business
11
      combination of Qell Acquisition Corp. and Lilium GmbH (the “Merger
12
      Announcement Press Release”). The Merger Announcement Press Release stated
13
14    the following, in pertinent part, regarding the Lilium Jet and its batteries:

15
            The Lilium 7-Seater Jet has a projected cruise speed of 175 mph at
16          10,000 feet and a range of 155+ miles, including reserves. It is the
17          culmination of five years of technology development across four
            generations of technology demonstrators, including Lilium’s full-scale
18
            5-Seater.
19
20                                         *     *      *

21          Lilium has successfully developed, tested and refined the underlying
22          technology for electric vertical take-off and landing jets – Lilium’s
            proprietary Ducted Electric Vectored Thrust (“DEVT”) technology,
23          along with key control systems, aircraft and battery architecture. DEVT
24          technology enables Lilium to scale to higher-capacity aircraft and keep
25          noise emissions and ground footprint low. More information about the
            7-Seater Lilium Jet, and underlying technology, can be found at
26          lilium.com/jet.
27
28                                –5–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 6 of 38 Page ID #:6




 1          (Emphasis added.)
 2
            18.    The Merger Announcement Press Release stated the following, in
 3
      pertinent part, regarding the Lilium Jet’s certification process and its cash required
 4
      to commercialize the Lilium Jet:
 5
            Path to Serial Production and Commercialization
 6          The proceeds from the transaction are intended to fund the launch of
 7          commercial operations, planned for 2024. This includes the
 8          finalization of serial production facilities in Germany, launch of
            serial production aircraft and completion of type certification.
 9
10          (Emphasis added.)
11          19.    On August 11, 2021, the Company filed with the SEC a proxy statement
12
      (the “Proxy”) which was signed by Defendants Engle and Wiegand. The Proxy
13
      included, in pertinent part, regarding the Lilium Jet:
14
            Currently, our development efforts are focused on the Lilium Jet,
15          including our ongoing certification process with European Union
16          Aviation Safety Agency (“EASA”) and Federal Aviation
            Administration (“FAA”), and building out our manufacturing capacity
17          to produce the Lilium Jet.
18
                                          *     *      *
19
20          The new and developing eVTOL aircraft market has been made
21          possible by a convergence of innovation across battery technology,
            lightweight materials, sensors and computing power, and propulsion
22          technology.
23
                                          *     *      *
24
25         The Lilium Jet architecture is based on our proprietary Ducted Electric
26         Vectored Thrust (“DEVT”) technology, which has been developed and
           rigorously tested over the last five years. While the majority of our
27         eVTOL competitors leverage open rotor engines, which are based on
28                                          –6–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                   SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 7 of 38 Page ID #:7




 1          unducted, contra-rotating propeller blades, DEVT consists of electric
 2          turbofans mounted within a cylindrical duct. DEVT offers four
            fundamental advantages over open propeller eVTOL architectures:
 3          lower noise, higher payload, safety and highest market penetration for
 4          ducted fans in commercial aviation, and scalability to larger aircraft in
            the future.
 5
 6          We believe these technology advantages will enable Lilium’s regional
            shuttle service model to carry more passengers (or cargo) per jet on
 7
            longer (regional) trips than open propeller eVTOL aircraft. The
 8          specifications for the Lilium Jet under development call for the
 9          aircraft to be able to cruise at 175 mph at 10,000 feet for up to 155
            miles and to have 7 seats (one for the pilot) or 210 cubic feet of cargo
10          space representing 50% more (passenger) capacity than an open
11          propeller eVTOL architecture would have at comparable noise levels .
            [sic]
12
13                                       *     *      *
14
            Our Competitive Strengths
15          We believe that our business benefits from a number of competitive
16          strengths, including the following:
            •Proprietary DEVT technology unlocks higher unit economic potential
17          The majority of our competitors use ‘open propeller’ eVTOL
18          architectures. Lilium employs its own proprietary DEVT technology, a
            differentiated propulsion system refined over five years, which
19
            provides four mission critical advantages[.]
20
21                                       *     *      *
22          Our Lilium Jet
23          … We are designing the Lilium Jet in accordance with the strictest
            aerospace standards and guidelines established by the relevant
24
            regulatory authorities, and consistent with the leading original
25          equipment manufacturers (“OEMs”) commercial aerospace programs.
26
                                         *     *      *
27
28                                –7–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 8 of 38 Page ID #:8




 1          The Lilium Jet is a fixed wing aircraft, which makes it efficient in cruise
 2          flight, similar to commercial airliners. The two main wings, two fixed
            canard (front) wings and the aerodynamic design of the fuselage
 3          contribute significantly to the overall cruise efficiency, providing all
 4          the lift to support the weight of the aircraft during horizontal cruise
            flight. The power consumption in cruise flight is projected to be around
 5          10% of the hover flight power consumption. Due to the propulsion
 6          system’s planned installation in the rear of the wing, the jet’s power
            consumption decreases by the inverse of the velocity squared from
 7
            hover flight to cruise flight, as the wings create more lift with increasing
 8          forward speed. Since the small-sized engines will be embedded into the
 9          wings of the aircraft, the wetted area is significantly reduced, which
            minimizes drag further during cruise flight.
10
11          The disadvantage of the ducted fans’ small footprint is that the Lilium
            Jet is expected to consume roughly twice the power in hover flight than
12
            an eVTOL propeller based aircraft of a similar weight. However, since
13          we plan to operate a regional shuttle service, we aim for less than 60
14          seconds per mission in the pure hover phase and 30 – 60 minutes in
            cruise flight. As a result, we estimate that the associated increase in
15          energy consumption in hover flight is around 5% of the overall
16          mission energy budget.
17                                        *      *      *
18
            Our Business Plan and Prospects
19
            The specifications for the Lilium Jet under development call for the
20          aircraft to be able to cruise at 175 mph in 10,000 feet for up to 155
21          miles and to have 7 seats (one for the pilot) or 210 cubic feet of cargo
            space representing 50% more (passenger) capacity than an open
22          propeller eVTOL architecture would have at comparable noise levels.
23          We believe the combination of longer average trip lengths and higher
            passenger capacity per jet (thus a higher load factor) will provide
24
            greater time savings to customers, more competitive pricing, and
25          superior unit economics as compared to open propeller eVTOL
26          architecture.
27          (Emphasis added.)
28                                –8–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                           SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 9 of 38 Page ID #:9




 1
 2          20.    The Proxy included, in pertinent part, regarding the Lilium Jet’s

 3    certification process:
 4          We have applied for Type Certification (“Type Certification”) with the
            EASA in 2017 and for concurrent Type Certification with the FAA in
 5          2018. Receiving a Type Certificate in accordance with stated regulatory
 6          standards will certify compliance to the applicable airworthiness
            standards for the Lilium Jet, which is a necessary prerequisite to
 7
            undertaking commercial operations. In 2020, the Lilium Jet received
 8          CRI-A01 certification basis from EASA (similar to the G-1 from the
 9          FAA, which we expect to obtain in the coming months), setting forth a
            set of performance requirements we have agreed with the regulators for
10          the Lilium Jet. We are progressing towards a targeted Type
11          Certification in 2024, which would position us as one of the first
            companies to enter the eVTOL market. Importantly, achieving both
12
            EASA and FAA certification will allow our Lilium Jets to operate in
13          Europe, the U.S., and any other countries where the national civil
14          aviation authorities recognize these certifications (examples may, but
            are not guaranteed to include, India, Russia, and certain countries
15          within the Middle East, South East Asia and major parts of Central and
16          South America). We believe that the national civil aviation authorities
            of these countries would accept a Type Certification from EASA and
17          FAA; however, we cannot assure that this will be the case and the actual
18          acceptance is dependent on the authorities’ review when the Type
            Certification is presented. In addition, certain other countries have
19
            bilateral agreements in place with EASA, including technical
20          implementation procedures to validate an EASA Type Certification.
21          These countries include China, Japan, Canada and Brazil, for which
            some additional validation work would be required. More details about
22          the Lilium Jet’s certification process and regulation are below under
23          “— Regulation”.
24
                                        *      *     *
25
26         In 2018, our application for Type Certification of the serial aircraft was
           accepted by EASA and FAA, and we subsequently started the
27         development program for our 7-seater serial aircraft based on the
28                                          –9–
          CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                    SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 10 of 38 Page ID #:10




 1           technologies developed and refined over the previous generation of
 2           aircraft demonstrators.

 3                                       *     *     *
 4
            • Progress in concurrent Type Certification with clear path to
 5          commercialization
 6          • We have had regular engagement with both the FAA and EASA since
            2017, and in 2018, both authorities accepted our application for Type
 7
            Certification.
 8          • In December 2020, we received from EASA the CRI-A01, the
 9          certification basis, for the 7-seater Lilium Jet (similar to the G01 from
            the FAA, which we expect to obtain in the coming months). The CRI-
10          A01 an important milestone in the certification process and confirms
11          EASA’s agreement on the certification basis of our serial aircraft
            design, based on EASA’s SC-VTOL and additional means of
12
            compliance which specify the means by which the requirements
13          contained in the basic regulations can be met. The CRI-A01 also
14          provides a roadmap of the tests and metrics that we need to implement
            and comply with to achieve full Type Certification of the Lilium Jet (as
15          further     discussed      below     under     “— Regulation — Aircraft
16          Certification”)
            • We are targeting Type Certification by 2024, which we believe would
17          put us among the first companies certified to launch an eVTOL service.
18          We believe that receiving Type Certification from both EASA and the
            FAA will enable us to access many other markets, beyond Europe and
19
            the U.S., where the national civil aviation authorities recognize these
20          certifications (examples may, but are not guaranteed to include, India,
21          Russia, and certain countries within the Middle East, South East Asia
            and major parts of Central and South America). We believe that the
22          national civil aviation authorities of these countries would accept a
23          Type Certification from EASA and FAA; however, we cannot assure
            that this will be the case and the actual acceptance is dependent on the
24
            authorities’ review when the Type Certification is presented.
25          • We believe the rigorous FAA and EASA certification processes for
26          eVTOL aircraft create high barriers to entry for potential market
            entrants. Therefore, we see it as a competitive advantage that we have
27          engaged frequently with EASA and FAA since 2017, and that we were
28                                             – 10 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                       SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 11 of 38 Page ID #:11




 1           one of the earliest players whose application for Type Certification
 2           was accepted by both authorities. This provides us dual advantages of
             being one of the first movers in the sector and likewise being
 3           substantially familiar with the details of requirements established by
 4           the regulators.
 5                                        *      *      *
 6
             Regulation
 7
             The Lilium Jet and our operations are designed to comply with
 8           existing regulations, policies, and procedures of the relevant aviation
 9           authorities, although we note for the avoidance of doubt that our
             business model has yet to be tested or regulatorily approved. In the first
10           years of service and as long as no “new” or changed regulatory
11           framework is available and applicable, the Lilium Jet will operate under
             the existing aviation regulatory framework using conventional means
12
             of navigation and communication, facilitated by the onboard pilot.
13
14           We are required to comply with the safety regulations for the jet itself
             in addition to all operational aspects such as flight operations, crew
15           training and the vertiport requirements. While some adaptations are
16           required to existing regulations, we believe that the similarity of our
             operations to existing services (including piloted helicopters and other
17           small aircraft) could mean that a close-to-comprehensive set of rules
18           already exists.
19
             Aircraft Certification
20           We are designing and producing the Lilium Jet to industry
21           aeronautical standards and applicable regulatory requirements.
22           For international certification, the first airworthiness authority we
23           approached is EASA. We applied for EASA Type Certification in 2017
             and for concurrent FAA Type Certification validation through
24
             provisions provided by the bilateral agreement between the European
25           Union (“EU”) and the U.S authorities in 2018. The FAA will reserve
26           the right to verify compliance to their airworthiness requirements, but
             a maximum of regulatory alignment is being pursued. At the beginning
27
28                                – 11 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 12 of 38 Page ID #:12




 1           of 2018, both authorities accepted our application for certification and
 2           we have been in frequent interaction with both authorities since then.

 3           In July 2019, EASA published a novel set of rules for the certification
 4           of eVTOL aircraft, “Special Conditions for Small-Category VTOL
             Aircraft” (“SC-VTOL”), applicable to aircraft with a maximum of 9
 5           passenger seats and a maximum certificated take-off mass of 3,175kg
 6           or less. We intend that the Lilium Jet will be certified under SC-VTOL.
             In relation to the FAA certification process, we intend that the Lilium
 7
             Jet will be certified under the recently reformed “Part 23 —
 8            Airworthiness Standards: Normal Category Airplanes”, modified by
 9           Special Conditions to address the novelties of e-VTOL aircraft.
10           General and technical familiarization activities have been performed to
11           engage EASA and FAA in the development of the Lilium Jet. In
             December 2020, EASA issued the initial CRI A01 for the Lilium Jet.
12
             CRI A01 is the Type Certification basis for SC-VTOL which is the
13           equivalent to the G-1 issue paper from the FAA. This represents a
14           significant milestone in the certification process since it provides a
             roadmap of the tests and metrics that will be relevant for full Type
15           Certification of the Lilium Jet. Initial aircraft and system certification
16           plans have been submitted.
17           A detailed certification program including all the means of
18           compliance will be further defined over the course of 2021. The
             certification program sets the stage for the design and testing process.
19
             After successful verification by EASA, the Lilium Jet will receive
20           Type Certification in accordance with stated regulatory standards,
21           which certifies compliance to the applicable airworthiness standards
             for the Lilium Jet.
22
23          Once certified by EASA and the FAA, we expect that the Lilium Jet
            Type Certification will be recognized by national civil aviation
24
            authorities around the world, since many countries’ national civil
25          aviation authorities have bilateral agreements, working arrangements
26          or other collaboration activities with EASA or FAA (examples may,
            but are not guaranteed to include, India, Russia, and certain countries
27          within the Middle East, South East Asia and major parts of Central and
28                                           – 12 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                    SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 13 of 38 Page ID #:13




 1           South America). As a result, we believe that our Lilium Jet will be
 2           allowed to operate in any country that recognizes and accepts the EASA
             and FAA regulatory standards (even though we cannot assure that this
 3           will be the case), which would potentially enable us global market
 4           access. We cannot assure you that regulatory authorities in any other
             country will accept these standards; however, airlines regularly rely on
 5           bilateral agreements to operate internationally.
 6
             We also initiated the process to obtain a Design Organization Approval
 7
             (“DOA”) issued by the EASA for the Lilium Jet’s design and a
 8           Production Organization Approval (“POA”) issued by the responsible
 9           national civil aviation authority of Germany for the Lilium Jet’s
             manufacture. The DOA program has started with the Type Certification
10           application in 2017. We have prepared and submitted several DOA
11           processes for engineering and airworthiness certification to EASA for
             the initial investigation and desk audit. We started process roll-out,
12
             training and proper application in 2020. We intend to perform the first
13           comprehensive set of EASA on-site audits in the second half of 2021.
14           The DOA approval program takes place in parallel with the Lilium Jet
             Type Certification activities.
15
16           The POA program has started with the application to the airworthiness
             authorities in May 2020. Most of the required processes and regulations
17           have been filed with the German Federal Aviation Office (Luftfahrt-
18           Bundesamt (LBA)) for review, which is planning audits in 2022. We
             already have fast prototyping capabilities for 80 core processes in place.
19
             When we receive our DOA, we expect to receive our POA thereafter,
20           which is the final step before receiving our Type Certification.
21
                                          *      *      *
22
23          Lilium has applied for Type Certification with the EASA in 2017 and
            for concurrent Type Certification with the FAA in 2018. Receiving a
24
            Type Certificate in accordance with stated regulatory standards will
25          certify compliance to the applicable airworthiness standards for the
26          Lilium Jet, which is a necessary prerequisite to undertaking commercial
            operations. In 2020, the Lilium Jet received CRI-A01 certification
27          basis from EASA (similar to the G-1 from the FAA, which we expect
28                                           – 13 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                     SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 14 of 38 Page ID #:14




 1            to obtain in the coming months), setting forth a set of performance
 2            requirements we have agreed with the regulators for the Lilium Jet.
              We are progressing towards a targeted Type Certification in 2024,
 3            which would position us as one of the first companies to enter the
 4            eVTOL market.
 5            (Emphasis added.)
 6
              21.   The Proxy included, in pertinent part, regarding the Lilium Jet and its
 7
 8     batteries:

 9            Battery System
              The battery system is a critical component of the Lilium Jet.
10            Due to rapid improvements in energy density levels, estimated by
11            Roland Berger as increasing approximately 7% per year, the era of
              electric aviation is possible today. The battery system must fulfill
12
              several key requirements:
13            • it must supply high energy density levels in order to achieve the
14            required range;
              • it must supply the high-power density required for vertical takeoff
15            and landing phases;
16            • it should have fast charging capabilities to enable high infrastructure
              throughput; and
17            • it should have a long lifetime or cycle rate.
18
             The Lilium Jet’s engines are designed to be powered by a proprietary
19
             battery system which is being developed by Lilium in collaboration
20           with third parties based on large format Lithium-ion pouch batteries.
21           We have selected a battery cell chemistry based on a silicon-dominant
             anode combined with conventional NMC (Nickel, Manganese and
22           Cobalt) cathodes and electrolytes. We believe this combination offers
23           the best compromise of energy and power density at a low state of
             charge (“SoC”, the level of an electric battery’s charge relative to its
24
             capacity), which determines the effective usable battery capacity. The
25           majority of battery cell production should be on standard lithium-ion
26           pouch cell production lines. We have invested in a leading battery
             technology supplier, securing exclusive rights for the eVTOL market
27           for this chemistry.
28                                           – 14 –
            CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                      SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 15 of 38 Page ID #:15




 1
 2           Supplier and in-house measurements of the pouch cells have yielded
             nominal energy density levels of 330 watt-hour per kilogram, which
 3           is projected to enable a physical aircraft range of 155 miles (our target
 4           for entry into service). This prediction is based on our testing and
             simulation of engine efficiency as well as on well-known and standard
 5           prediction methods for aircraft design for batteries, engines, motors,
 6           and other components of the aircraft. We anticipate energy density
             levels and power levels at low SoC to further improve which will
 7
             improve the operating range of our Lilium Jet as these improvements
 8           occur.
 9
             We anticipate that the battery should provide a sufficient cycle life
10           (over 800 standard charge/ discharge cycles measured until 80%
11           capacity). We are continuing to test and optimize the cycle life of the
             prototype cell we are designing for the Lilium Jet. In operations, we
12
             intend to replace the battery 2 – 3 times a year given the projected
13           number of flight hours during the operation of an aircraft within
14           passenger shuttle networks. Cost is another key factor within the
             operating economics of our Lilium Jet. In terms of technology and
15           production, our cells are an evolution from today’s automotive
16           batteries, but will be produced at a premium over automotive batteries
             in order to meet our stricter aerospace safety and performance
17           requirements.
18
             We are targeting a battery system to be capable of fast charge (80%
19
             charge in 15 minutes, full charge within 30 minutes), which is key to
20           enable smooth operations and quick turnovers. We are working with
21           leading suppliers for charging technology using equipment based on
             chargers for the electric trucking industry.
22
23          Our battery system design consists of multiple independent packs each
            built up of multiple modules, creating significant redundancy across the
24
            energy system as a whole. We are designing the battery casing to
25          protect against the effects of multiple-cell thermal runaway. When
26          thermal runaway occurs in a module, it needs to be contained within the
            module, with the remaining modules and packs remaining unaffected
27          to supply enough power and energy for continuous safe flight and
28                                           – 15 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                    SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 16 of 38 Page ID #:16




 1           landing. We have successfully validated an early version of a battery
 2           system in the Phoenix technology demonstrator, incorporating many
             of the technologies of our envisioned and certifiable series solution.
 3           We continue to conduct technology development and demonstrations
 4           to determine the most appropriate technology for the Lilium Jet. The
             challenges and risks intrinsic in refining our battery system may take
 5           longer or be more difficult or costly than we anticipate. The full battery
 6           and energy management system will be certified as a part of the
             aircraft certification process and will undergo rigorous testing to
 7
             prove compliance with the requirements set by the authorities. We are
 8           developing the battery pack design and energy management in-house
 9           as part of our core technology, while we work with third parties on
             the design of the battery cells and some components of the energy
10           management system.
11
             (Emphasis added.)
12
13           22.   The Proxy included, in pertinent part, regarding the cash required to
14     commercialize the Lilium Jet:
15           Capital Resources and Liquidity Requirements
16           …
17           We believe that our current cash and cash equivalents, together with
18           the cash that we expect to receive from the Business Combination,
             including the PIPE Financing, will provide sufficient funding to
19
             commercially launch our 7-seater Lilium Jet, though we cannot assure
20           that this will actually be the case. If our pro forma cash resources,
21           including the proceeds of the Business Combination and the PIPE
             Financing, are insufficient to finance our future cash requirements, we
22           will need to finance our future cash needs through a combination of
23           public or private equity offerings, debt financings, partnerships or grant
             funding, which may require certain covenants or restrictions on our
24
             business.
25
26           23.   The Proxy included, in pertinent part, the following regarding the Qell
27     Acquisition Corp.’s due diligence connected to the Merger:
28                                – 16 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 17 of 38 Page ID #:17




 1           On December 2, 2020, Qell and Lilium executed a customary non-
 2           disclosure agreement that did not include a standstill provision, and
             Lilium provided the representatives of Qell with certain key non-public
 3           information for Qell to begin conducting preliminary business and
 4           financial due diligence with respect to Lilium. …
 5           Throughout December 2020 and early January 2021, Qell continued its
 6           dialogue with its advisors and consultants … Qell also met with other
             emerging technology companies focused on urban and regional air
 7
             mobility to explore potential business combinations and better its
 8           understanding of the market. Mr. Engle, Mr. Gabbita and other Qell
 9           representatives and Qell advisors discussed and considered the
             findings from their preliminary due diligence review (including
10           diligence relating to Lilium’s technology, commercial strategy,
11           manufacturing and supply chain approach, and financial forecasts).
             …
12
13
14                                       *     *      *

15           Between February 1, 2021 and March 29, 2021, representatives of
16           Qell conducted further business and financial due diligence with
             respect to Lilium and, over the same period of time, Qell’s strategic,
17           financial, technical, legal, tax and other advisors conducted due
18           diligence with respect to Lilium, in each case, based on information
             available in the data room (including through oral and written
19
             responses from the management team of Lilium) and customary due
20           diligence calls with the management team of Lilium. In early February
21           2021, Qell’s technical due diligence advisor, a Europe-based firm with
             expertise in development and certification of new aircraft, visited
22           Lilium’s headquarters in Munich on multiple occasions. During these
23           visits, the firm conducted interviews with key Lilium technical
             personnel, including Mr. Wiegand, and toured Lilium’s design, testing
24
             and production facilities in Munich. These visits were part of the
25           independent technical analysis it was conducting for Qell on Lilium’s
26           historical aircraft performance, current design for the 7-seater, and
             approach to aircraft certification. Also, Qell, through its advisors,
27
28                                – 17 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 18 of 38 Page ID #:18




 1           conducted an on-site review of Lilium’s manufacturing process and
 2           scale up capabilities.

 3                                        *     *      *
 4
             In addition, the Qell Board believes the following aspects of due
 5           diligence, relative comparison to other opportunities available to Qell,
 6           and transaction attributes were all key factors in securing their support
             for the Business Combination.
 7
 8                                        *     *      *
 9
             Results of Due Diligence. The Qell Board considered the scope of the
10           due diligence investigation conducted by Qell and its outside advisors
11           and evaluated the results thereof and information available to it related
             to Lilium, including:
12
             • diligence on market;
13           • extensive meetings and calls with Lilium’s management team
14           regarding its operations and projections and the proposed transaction;
             • in-person visits to Lilium facilities in Munich by Mr. Engle, Mr.
15           Gabbita and by Qell’s technical and business advisors;
16           • Goodwin’s findings relating to Lilium’s material intellectual property
             findings;
17           • Hogan Lovells’ material FAA and EASA findings;
18           • The commercial diligence findings of Qell’s advisors;
             • Qell’s technical advisor’s technical and certification diligence
19
             findings;
20           • KPMG’s IPO readiness and tax diligence findings; and
21           • review of materials related to Lilium made available, including with
             respect to financial statements, material contracts, key metrics and
22           performance indicators, benefit plans, intellectual property matters,
23           labor matters, information technology, privacy and personal data,
             litigation information, environmental matters, export control matters,
24
             FAA and other regulatory matters and other legal and business
25           diligence matters.
26
             (Emphasis added.)
27
28                                – 18 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 19 of 38 Page ID #:19




 1           24.    On September 14, 2021, the Company issued a press release entitled
 2     “Lilium closes business combination with Qell Acquisition Corp., will begin trading
 3     on Nasdaq under the symbol “LILM” on September 15” which stated the following,
 4     in pertinent part, regarding the cash required to commercialize the Lilium Jet:
 5           As a result of the business combination, Lilium will receive
 6           approximately $584 million of gross proceeds, prior to transaction
             expenses, including from funds managed by leading strategic and long-
 7
             term financial investors including Atomico, Baillie Gifford, LGT and
 8           its affiliate impact investing platform Lightrock, funds and accounts
 9           managed by BlackRock, Tencent, Ferrovial, Palantir, Honeywell, FII
             Institute and private funds affiliated with PIMCO. Net cash from the
10           transaction will be used to fund the commercial launch of Lilium's 7-
11           Seater Jet.
12
                                           *      *     *
13
14           Tom Enders, Chairman of the Board, said:

15           “… It will not be an easy journey but we have the technology, the team
16           and the resources to be very confident that Lilium will make it
             happen. Our role as a Board of Directors is to make strategic decisions,
17           to supervise, to coach and to advise. …”
18
             (Emphasis added.)
19
20           25.    On February 28, 2022, the Company released its “Business Update FY
21     2021” which was signed by Defendants Wiegand and Richardson which stated the
22     following, in pertinent part, regarding the Lilium Jet and its certification process:
23           Design changes for a simpler aircraft and a robust certification path
24           We continue to assess and, as a result of the PDR [Preliminary Design
25           Review] process to date, are implementing certain changes to simplify
             the design and to reduce technical and certification risk. For example:
26           - Through a slightly larger and more powerful engine design, we will
27           reduce the number of engines from 36 to 30 to (i) reduce part count,
28                                – 19 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 20 of 38 Page ID #:20




 1           weight and system complexity; (ii) improve aerodynamic balance
 2           between main wings and canards (front wings); (iii) create potential for
             lower material and maintenance costs; and (iv) improve design
 3           flexibility in the future.
 4
             (Emphasis added.)
 5
 6           26.    The statements referenced in ¶¶17-25 above, made by or attributed to
 7     Defendants, were materially false and/or misleading because they misrepresented
 8     and failed to disclose the following adverse facts pertaining to the Company’s
 9     business, operational and financial results, which were known to Defendants or
10     recklessly disregarded by them. Specifically, Defendants made false and/or
11     misleading statements and/or failed to disclose that: (1) Lilium materially overstates
12
       the Lilium Jet’s design and capabilities; (2) Lilium materially overstates the
13
       likelihood for the Lilium Jet’s timely certification; (3) Lilium misrepresents its
14
       ability to obtain or create the necessary batteries for the Lilium Jet; (4) the SPAC-
15
       merger would not and did not generate enough cash to commercially launch the
16
       Lilium Jet; (5) Qell Acquisition Corp. did not engage in proper due diligence
17
       regarding the Merger; and (6) as a result, Defendants’ public statements and
18
       statements to journalists were materially false and/or misleading at all relevant times.
19
20                                     The Truth Emerges

21           27.    On March 14, 2022, in the morning during trading hours, market
22     analyst Iceberg Research released a report regarding the Company entitled “LILIUM
23     NV – THE LOSING HORSE IN THE EVTOL RACE” which detailed several
24     alleged issues with the Company (the “Iceberg Report”).
25           28.    The Iceberg Report stated the following, in pertinent part, regarding the
26     Lilium Jet’s design and capabilities (or lack thereof):
27
28                                – 20 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 21 of 38 Page ID #:21




 1           1. German company Lilium is building an electric vertical take-off and
 2           landing aircraft (eVTOL) - the Lilium Jet. Its objective is for the Jet to
             fly up to 155 miles. But none of Lilium’s demonstrators have flown
 3           for more than three minutes even after seven years of work. eVTOL
 4           industry leader Joby Aviation Inc. has flown 150 miles on its current
             model.
 5
 6           2. Many experts have raised serious doubts about the Jet’s ability to fly
             155 miles. This is largely due to its configuration of 36 ducted fans
 7
             (recently reduced to 30) that devour power during takeoff and landing
 8           (hovering), and leaves little power for actual flight.
 9
                                       *     *      *
10
11           The Jet has an unconventional design with a propulsion system
             consisting of 36 wing flaps. These flaps serve as lifting and control
12
             surfaces and each contains a ducted electric fan - a design that emits
13           less noise according to Lilium.
14
                                       *     *      *
15
16           Lilium’s technology choices dramatically shave range
17           Lilium is aiming for regional travel over longer distances, rather than
18           short intra-city hops. Its target is to go 155 miles on its Jet.
19
             [Image omitted.]
20
21           Lilium’s ambitious claims suggest a technological edge. But its
             eVTOL fails the test of practicality. None of its flight demonstrators
22           have delivered more than three minutes on test flights over the last
23           seven years. eVTOL industry leader Joby has flown further and faster
             than anyone else. Joby flew over 150 miles on the longest eVTOL test
24
             flight to date in July 2021. The company set another record after its
25           plane hit airspeeds of 205 mph during a test flight earlier this year.
26
            How much further can the Lilium Jet go if it has not flown for more
27          than a few minutes? We spoke to two experts – an aerospace specialist
28                                        – 21 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                  SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 22 of 38 Page ID #:22




 1           and former Lilium employee - to get a sense of the problems with
 2           Lilium's aircraft. The main problem lies with its power hungry design
             - the ducted electric vectored thrust. The design of the Lilium Jet is
 3           peculiar when compared to most eVTOL peers, which use regular
 4           propellers that spin in the open air. The Jet has 36 fan-like engines
             on its wing flaps. Each fan spins within an enclosure (or duct) and the
 5           moveable flaps tilt up during the hover phase (vertical takeoff and
 6           landing) then shift forward for horizontal flight (cruising).
 7
             Joby S4 vs the Lilium Jet
 8
 9           [Image omitted.]
10           The fans consume more electricity in hover than a propeller aircraft
11           of similar weight. This is explained by the Jet’s disc load - defined as
             the ratio of aircraft weight to area of rotors used during lift - which is
12
             10x higher than open propeller eVTOLs. Higher disc loads raise power
13           requirements and lower efficiency, and in turn, means less batteries and
14           range for actual flight. It also requires batteries with high power even
             at a low state of charge when the aircraft lands.
15
16           The Lilium Jet’s disc load relative to other configurations
17
18
19
20
21
22
23
24
25
26
27
28                                – 22 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 23 of 38 Page ID #:23




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16           We could not find any other company in the industry trying to build a
17           7-seater and at 3,175kg, Lilium's Jet is 1.5x heavier than Joby’s 2,180kg
             S4. Carrying that much more weight requires powerful batteries.
18
19                                      *      *      *
20           (Emphasis added.)
21
             29.    The Iceberg Report stated the following, in pertinent part, regarding the
22
23     Lilium Jet’s certification prospects and timing:

24           6. Both Joby and Lilium hope aviation authorities will certify their
             eVTOLs for commercial flight in 2023. This means both firms must
25           have sufficient test flights for certification credit to hit that target. Joby
26           is closer to the mark with ~1,000 test flights under its belt. Lilium is
             likely to miss the 2023 target by miles. It has completed less than 50
27
28                                – 23 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 24 of 38 Page ID #:24




 1           test flights on its fourth and fifth (current) demonstrators. We believe
 2           the design of its Jet further complicates the certification process.

 3                                    *      *      *
 4
             This silenced the critics but our research invalidates Lilium’s
 5           arguments:
 6
             1. Lilium underestimates hover time that regulators will require
 7
 8           CTO Alastair McIntosh claims the Lilium Jet would hover for a very
 9           short time i.e., less than 60 seconds, of which takeoff would require 10-
             25 seconds and landing another 20 seconds.
10
11           The aerospace specialist we spoke to said McIntosh assumes perfect
             conditions during takeoff and landing. He does not account for buffer
12
             time aviation regulators would require for bad weather conditions,
13           hindrances such as drones and birds, and altitude needs i.e.,
14           vertiports will be surrounded by buildings of different heights.
             According to the specialist, regulators would require at least 2.5
15           minutes of hovering to account for these risks and doing so would
16           drain the Jet's batteries and slash up to 66% of its 155-mile target. He
             added that the transition from hover to flight should not be too quick as
17           the ride would be bumpy and uncomfortable for passengers.
18
                                      *      *      *
19
20           Lilium lags far behind Joby and will not meet its certification timeline
21
             Above all, progress with aviation authorities is all that matters because
22           you can get the money, build a fantastic aircraft, but if you don’t have
23           progress on certification, it doesn’t matter.
24
            The novelty of eVTOLs and plans for them to fly over congested urban
25          areas means the bar for certification would be high. Yet for all its
26          technical issues, Lilium still expects full certification from aviation
            authorities in 2023, the same year as Joby which shows far more
27          promise.
28                                           – 24 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                    SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 25 of 38 Page ID #:25




 1
 2           Joby has conducted more than 1,000 test flights and boasts the longest
             eVTOL test flight to date. It recently announced the start of conformity
 3           testing with the Federal Aviation Administration, which means Joby
 4           has a conforming prototype of its aircraft. This is a key milestone in the
             certification process as the only tests, including measures such as ‘flight
 5           hours’, that are valid in the context of certification are those conducted
 6           using a conforming aircraft.
 7
             Lilium only has a demonstrator and it isn’t clear when a conforming
 8           prototype will be ready. It probably won’t be soon. The company has
 9           completed about 45 unmanned flights on its last (20 flights) and current
             (~25 flights) demonstrators, both 5-seaters, and the duration of each
10           flight was no longer than three minutes. Lilium has performed zero
11           tests for the 7-seat Jet it plans to commercialise.
12
             Our consulting specialist underlined that design simplicity is essential
13           to facilitate the certification process. But Lilium’s plane adds
14           complexity as its ducted fans are responsible for both propulsion and
             navigation. Ella Atkins, an aerospace engineering professor from the
15           University of Michigan, shares this view, “Each of the motors will
16           induce vibrations in the wings, and the fans may not all spin with the
             same efficiencies as wear and tear set in. It will be complicated to write
17           software to reliably control all that.”
18
             While Lilium received CRI-A01 certification from the European Union
19
             Aviation Safety Agency (EASA) last year, the company has not
20           explained that the CRI-A01 means little to nothing at all. It merely
21           sets the rules the plane must meet for certification and marks the
             beginning of a long and complex process [] that is likely to stretch
22           beyond 2024.
23
             (Emphasis added.) (Internal citation omitted.)
24
25           30.    The Iceberg Report stated the following, in pertinent part, regarding the
26     Company’s ability to obtain or create its necessary batteries for the Lilium Jet:
27
28                                – 25 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 26 of 38 Page ID #:26




 1           4. Lilium promises its Jet has ready access to battery cells with energy
 2           density of 320-330 Wh/kg. One of the sources it relies on to show these
             batteries are within reach is Zenlabs Energy Inc. Zenlabs is a 34.8%
 3           Lilium-owned associated company whose CEO Sujeet Kumar was
 4           accused by General Motors of misrepresenting battery performance,
             while at his previous company Envia Systems.
 5
 6                                        *      *      *
 7
             Batteries have been a source of controversy for Lilium. German
 8           aviation magazine Aerokurier published doubts about Lilium’s 5-seat
 9           prototype and battery performance in 2020. Four engineers concluded
             the 5-seater could not fulfill CEO Daniel Wiegand’s repeated promise
10           that the plane could fly 186 miles at 186 mph and still have reserve
11           power to spare. One of the engineers told Aerokurier that just 60
             seconds of hovering would have shaved off more than half of the
12
             company's range target at the time.
13
14           Lilium quotes battery performance numbers of an associated
             company whose CEO was accused of misrepresentation by GM
15
16           Lilium published a white paper and a blog post in March and April 2021
             respectively, to defend itself against these criticisms. Its two arguments
17           were:
18
             1. A short hovering period minimizes the handicap caused by the Jet's
19
             battery consumption during takeoff and landing.
20
21           2. Lilium has ready access to batteries with energy densities of more
             than 300 Wh/kg at the cell level.
22
23           This silenced the critics but our research invalidates Lilium's
             arguments:
24
25          1. Lilium underestimates hover time that regulators will require
26          CTO Alastair McIntosh claims the Lilium Jet would hover for a very
            short time i.e., less than 60 seconds, of which takeoff would require 10-
27          25 seconds and landing another 20 seconds.
28                                             – 26 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                       SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 27 of 38 Page ID #:27




 1
 2           The aerospace specialist we spoke to said McIntosh assumes perfect
             conditions during takeoff and landing. He does not account for buffer
 3           time aviation regulators would require for bad weather conditions,
 4           hindrances such as drones and birds, and altitude needs i.e., vertiports
             will be surrounded by buildings of different heights. According to the
 5           specialist, regulators would require at least 2.5 minutes of hovering
 6           to account for these risks and doing so would drain the Jet's batteries
             and slash up to 66% of its 155-mile target. He added that the transition
 7
             from hover to flight should not be too quick as the ride would be bumpy
 8           and uncomfortable for passengers.
 9
             2. Lilium quotes battery performance numbers of an associated
10           company whose management was accused of misrepresentation of its
11           battery performance
12
             Lilium has shown confidence in its battery technology on many
13           occasions. McIntosh himself wrote: “A common, and reasonable,
14           concern that is often raised is whether current battery technology can
             support Lilium's architecture and its energy needs. The answer is
15           simple: Yes:” The company's investor presentation also shows battery
16           technology has been “secured exclusively”, but no further details have
             been given on the source.
17
18           [Image omitted.]
19
            As per its white paper, the Jet can fly ~160 miles, with 320 Wh/kg
20          battery cells, and 60 seconds of hover time. There are issues with
21          Lilium’s assumptions. Lilium does not consider security reserves in
            its calculations. And its stated density of 320-330 Wh/kg is far above
22          existing battery technology. Electric vehicle maker Tesla, viewed as a
23          leader in battery range, has commercialized batteries with energy
            densities of 260 Wh/kg at cell level. eVTOL competitor, Vertical
24
            Aerospace, said commercially available battery cells are currently ~270
25          Wh/kg at best.
26          In other words, the energy density of battery cells required by Lilium,
            designed to sustain repeated charges and discharges, are currently
27          not available commercially. To prove the battery technology is
28                                            – 27 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                     SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 28 of 38 Page ID #:28




 1           available, Lilium’s white paper quotes Zenlabs Energy Inc - a 34.8%-
 2           owned associated company [Pg 17] – that reported battery cells in the
             lab with 315 Wh/kg energy densities while achieving 1,000 charge-
 3           discharge cycles. Zenlabs Energy CEO Sujeet Kumar was CTO at now-
 4           defunct Envia Systems from 2007-2017. Both Sujeet and Envia were
             accused of misrepresenting Envia’s battery technology to investors
 5           and a customer (General Motors) in 2013. The automaker cancelled
 6           its contract with Envia on the grounds it was “predicated on a number
             of statements and representations made by Envia and Envia's
 7
             representatives that, in retrospect and in light of more recent statements
 8           by Envia, appear to have been inaccurate and misleading.” The battery
 9           sent to GM had actually been purchased from a Japanese supplier and
             not produced internally.
10
11           [Image omitted.]
12
             Even if we ignore Kumar's past, Zen labs’ purported 315 Wh/kg is a
13           nominal figure based solely on laboratory testing at the cell level. The
14           WSJ showed that laboratory breakthroughs rarely manifest in the real
             world.
15
16           McIntosh wrote last year that Lilium “will soon publish an additional
             blog article, which is fully focused around our battery design and we
17           can't wait to show more: We were unable to find the article on Lilium’s
18           website.
19
             We believe that Lilium voluntarily misrepresented its access to
20           batteries to raise SPAC money, despite not having the battery
21           technology. In fact, Lilium’s mysterious battery cell supplier may be
             Zen labs, although Lilium does not clarify the source of its battery
22           technology.
23
            This gives rise to two problems. Lilium is likely to lag Joby and other
24
            companies that use readily available battery cells, which gives them a
25          head start for development, certification, and commercialisation, while
26          Lilium continues to patiently wait for the battery it requires. We also
            expect Lilium to run out of cash in 18 months as we show below. This
27          means shareholders face dilution when Lilium taps the equity markets.
28                                           – 28 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                                     SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 29 of 38 Page ID #:29




 1             The reality of its batteries and the limitations they create on the Jet's
 2             development will soon become obvious.

 3             (Emphasis added.)
 4
               31.   The Iceberg Report stated the following, in pertinent part, regarding the
 5
       SPAC-merger and its generation of enough cash to commercially launch the Lilium
 6
       Jet:
 7
 8             7. We estimate that Lilium has about 18 months before its cash runs
               dry.
 9
10                                           *      *      *
11             Cash burn gives Lilium 18 more months under conservative
12             assumptions
13
               Lilium has about 18 months before its cash runs dry, based on the
14             average of cash spent ($65m) in the last two quarters - $56.Sm in 3Q21
15             and $72.7m in 4Q21 - and liquidity of $400m at the end of 2021.
16             This estimate is generous. Cash burn is likely to accelerate as Lilium
17             may increase its headcount by another 10%, from 900-1,000 at present.
               We also noted that Lilium initially told investors in August 2021 (see
18
               below) that the SPAC cash was enough to ‘commercially launch our 7-
19             seater Lilium Jet’.
20
               [Image omitted.]
21
22             Lilium has since changed its stance, as shown in an October 2021
               prospectus, which states the cash will only progress ‘…part of the
23             certification, production and commercialization…’. This implies
24             further capital raises are not too far away, but financing risk will be high
25             as the market starts to scrutinise Lilium's progress against more
               advanced peers.
26
27                                           *      *      *
28                                   – 29 –
              CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                               SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 30 of 38 Page ID #:30




 1
 2           A Sponsor eager to make a buck “no matter which company wins”

 3           The case of Lilium raises questions on the quality of due diligence
 4           conducted by sponsor Qell Partners LLC prior to the merger.
             Bloomberg reported in December 2020 that Qell’s CEO Barry Engle
 5           was ‘looking to acquire a company that will profit off the rapid changes
 6           happening in transportation no matter which company wins the EV or
             even self-driving game’.
 7
 8           “If this is a gold rush, you can stake your claim and hope you get
 9           lucky and find a nugget,” Engle said.
10                                         *     *      *
11
             Against this backdrop and with a cash runway of 18 months, Lilium
12
             will have no choice but to forcibly dilute shareholders through
13           additional fundraisings, while its commercialization effort lags peers.
14
             (Emphasis added.)
15
16           32.    On this news, Lilium’s stock price fell $1.25 per share, or 34%, to close
17     at $2.44 per share on March 14, 2022, on unusually heavy trading volume, damaging
18     investors.
19           33.    As a result of Defendants’ wrongful acts and omissions, and the decline
20     in the market value of the Company’s securities, Plaintiff and other Class members
21     have suffered significant losses and damages.
22                   PLAINTIFF’S CLASS ACTION ALLEGATIONS
23           34.    Plaintiff brings this action as a class action pursuant to Federal Rule of
24
       Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
25
       purchased or otherwise acquired the publicly traded securities of Lilium during the
26
       Class Period (the “Class”) and were damaged upon the revelation of the alleged
27
28                                – 30 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 31 of 38 Page ID #:31




 1     corrective disclosure. Excluded from the Class are Defendants herein, the officers
 2     and directors of the Company, at all relevant times, members of their immediate
 3     families and their legal representatives, heirs, successors or assigns and any entity
 4     in which Defendants have or had a controlling interest.
 5            35.      The members of the Class are so numerous that joinder of all members
 6     is impracticable. Throughout the Class Period, the Company’s securities were
 7
       actively traded on the NASDAQ. While the exact number of Class members is
 8
       unknown to Plaintiff at this time and can be ascertained only through appropriate
 9
       discovery, Plaintiff believes that there are hundreds or thousands of members in the
10
       proposed Class. Record owners and other members of the Class may be identified
11
       from records maintained by the Company or its transfer agent and may be notified
12
       of the pendency of this action by mail, using the form of notice similar to that
13
14     customarily used in securities class actions.

15            36.      Plaintiff’s claims are typical of the claims of the members of the Class
16     as all members of the Class are similarly affected by Defendants’ wrongful conduct
17     in violation of federal law that is complained of herein.
18            37.      Plaintiff will fairly and adequately protect the interests of the members
19     of the Class and has retained counsel competent and experienced in class and
20     securities litigation. Plaintiff has no interests antagonistic to or in conflict with those
21     of the Class.
22            38.      Common questions of law and fact exist as to all members of the Class
23     and predominate over any questions solely affecting individual members of the
24
       Class. Among the questions of law and fact common to the Class are:
25
              (a)      whether Defendants’ acts as alleged violated the federal securities
26
                       laws;
27
28                                 – 31 –
            CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                             SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 32 of 38 Page ID #:32




 1           (b)    whether Defendants’ statements to the investing public during the
 2                  Class Period misrepresented material facts about the financial
 3                  condition, business, operations, and management of the Company;
 4           (c)    whether Defendants’ statements to the investing public during the
 5                  Class Period omitted material facts necessary to make the statements
 6                  made, in light of the circumstances under which they were made, not
 7
                    misleading;
 8
             (d)    whether the Individual Defendants caused the Company to issue false
 9
                    and misleading SEC filings and public statements during the Class
10
                    Period;
11
             (e)    whether Defendants acted knowingly or recklessly in issuing false and
12
                    misleading SEC filings and public statements during the Class Period;
13
14           (f)    whether the prices of the Company’s securities during the Class Period

15                  were artificially inflated because of the Defendants’ conduct
16                  complained of herein; and
17           (g)    whether the members of the Class have sustained damages and, if so,
18                  what is the proper measure of damages.
19           39.    A class action is superior to all other available methods for the fair and
20     efficient adjudication of this controversy since joinder of all members is
21     impracticable. Furthermore, as the damages suffered by individual Class members
22     may be relatively small, the expense and burden of individual litigation make it
23     impossible for members of the Class to individually redress the wrongs done to
24
       them. There will be no difficulty in the management of this action as a class action.
25
             40.    Plaintiff will rely, in part, upon the presumption of reliance established
26
       by the fraud-on-the-market doctrine in that:
27
28                                – 32 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 33 of 38 Page ID #:33




 1           (a)    Defendants made public misrepresentations or failed to disclose
 2                  material facts during the Class Period;
 3           (b)    the omissions and misrepresentations were material;
 4           (c)    the Company’s securities are traded in efficient markets;
 5           (d)    the Company’s securities were liquid and traded with moderate to
 6                  heavy volume during the Class Period;
 7
             (e)    the Company traded on the NASDAQ, and was covered by multiple
 8
                    analysts;
 9
             (f)    the misrepresentations and omissions alleged would tend to induce a
10
                    reasonable investor to misjudge the value of the Company’s securities;
11
                    Plaintiff and members of the Class purchased and/or sold the
12
                    Company’s securities between the time the Defendants failed to
13
14                  disclose or misrepresented material facts and the time the true facts

15                  were disclosed, without knowledge of the omitted or misrepresented
16                  facts; and
17           (g)    Unexpected material news about the Company was rapidly reflected
18                  in and incorporated into the Company’s stock price during the Class
19                  Period.
20           41.    Based upon the foregoing, Plaintiff and the members of the Class are
21     entitled to a presumption of reliance upon the integrity of the market.
22           42.    Alternatively, Plaintiff and the members of the Class are entitled to the
23     presumption of reliance established by the Supreme Court in Affiliated Ute Citizens
24
       of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as
25
       Defendants omitted material information in their Class Period statements in
26
       violation of a duty to disclose such information, as detailed above.
27
28                                – 33 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 34 of 38 Page ID #:34




 1                                           COUNT I
 2             Violation of Section 10(b) of The Exchange Act and Rule 10b-5
 3                                    Against All Defendants
 4           43.    Plaintiff repeats and realleges each and every allegation contained
 5     above as if fully set forth herein.
 6           44.    This Count is asserted against the Company and the Individual
 7
       Defendants and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. §
 8
       78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
 9
             45.     During the Class Period, the Company and the Individual Defendants,
10
       individually and in concert, directly or indirectly, disseminated or approved the
11
       false statements specified above, which they knew or deliberately disregarded were
12
       misleading in that they contained misrepresentations and failed to disclose material
13
14     facts necessary in order to make the statements made, in light of the circumstances

15     under which they were made, not misleading.
16           46.    The Company and the Individual Defendants violated §10(b) of the
17     1934 Act and Rule 10b-5 in that they: employed devices, schemes and artifices to
18     defraud; made untrue statements of material facts or omitted to state material facts
19     necessary in order to make the statements made, in light of the circumstances under
20     which they were made, not misleading; and/or engaged in acts, practices and a
21     course of business that operated as a fraud or deceit upon plaintiff and others
22     similarly situated in connection with their purchases of the Company’s securities
23     during the Class Period.
24
             47.    The Company and the Individual Defendants acted with scienter in that
25
       they knew that the public documents and statements issued or disseminated in the
26
       name of the Company were materially false and misleading; knew that such
27
28                                 – 34 –
            CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                             SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 35 of 38 Page ID #:35




 1     statements or documents would be issued or disseminated to the investing public;
 2     and knowingly and substantially participated, or acquiesced in the issuance or
 3     dissemination of such statements or documents as primary violations of the
 4     securities laws. These defendants by virtue of their receipt of information reflecting
 5     the true facts of the Company, their control over, and/or receipt and/or modification
 6     of the Company’s allegedly materially misleading statements, and/or their
 7
       associations with the Company which made them privy to confidential proprietary
 8
       information concerning the Company, participated in the fraudulent scheme alleged
 9
       herein.
10
             48.     Individual Defendants, who are the senior officers and/or directors of
11
       the Company, had actual knowledge of the material omissions and/or the falsity of
12
       the material statements set forth above, and intended to deceive Plaintiff and the
13
14     other members of the Class, or, in the alternative, acted with reckless disregard for

15     the truth when they failed to ascertain and disclose the true facts in the statements
16     made by them or other personnel of the Company to members of the investing
17     public, including Plaintiff and the Class.
18           49.     As a result of the foregoing, the market price of the Company’s
19     securities was artificially inflated during the Class Period. In ignorance of the falsity
20     of the Company’s and the Individual Defendants’ statements, Plaintiff and the other
21     members of the Class relied on the statements described above and/or the integrity
22     of the market price of the Company’s securities during the Class Period in
23     purchasing the Company’s securities at prices that were artificially inflated as a
24
       result of the Company’s and the Individual Defendants’ false and misleading
25
       statements.
26
27
28                                 – 35 –
            CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                             SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 36 of 38 Page ID #:36




 1            50.    Had Plaintiff and the other members of the Class been aware that the
 2     market price of the Company’s securities had been artificially and falsely inflated
 3     by the Company’s and the Individual Defendants’ misleading statements and by the
 4     material adverse information which the Company’s and the Individual Defendants
 5     did not disclose, they would not have purchased the Company’s securities at the
 6     artificially inflated prices that they did, or at all.
 7
              51.     As a result of the wrongful conduct alleged herein, Plaintiff and other
 8
       members of the Class have suffered damages in an amount to be established at trial.
 9
              52.    By reason of the foregoing, the Company and the Individual
10
       Defendants have violated Section 10(b) of the 1934 Act and Rule 10b-5
11
       promulgated thereunder and are liable to the Plaintiff and the other members of the
12
       Class for substantial damages which they suffered in connection with their
13
14     purchases of the Company’s securities during the Class Period.

15                                             COUNT II
16                       Violation of Section 20(a) of The Exchange Act
17                              Against The Individual Defendants
18            53.    Plaintiff repeats and realleges each and every allegation contained in
19     the foregoing paragraphs as if fully set forth herein.
20            54.    During the Class Period, the Individual Defendants participated in the
21     operation and management of the Company, and conducted and participated,
22     directly and indirectly, in the conduct of the Company’s business affairs. Because
23     of their senior positions, they knew the adverse non-public information regarding
24
       the Company’s business practices.
25
              55.    As officers of the Company, the Individual Defendants had a duty to
26
       disseminate accurate and truthful information with respect to the Company and to
27
28                                 – 36 –
            CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                             SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 37 of 38 Page ID #:37




 1     correct promptly any public statements issued by the Company which had become
 2     materially false or misleading.
 3           56.    Because of their positions of control and authority as senior officers,
 4     Individual Defendants were able to, and did, control the contents of the various
 5     reports, press releases and public filings which the Company disseminated in the
 6     marketplace during the Class Period. Throughout the Class Period, Individual
 7
       Defendants exercised their power and authority to cause the Company to engage in
 8
       the wrongful acts complained of herein. The Individual Defendants therefore, were
 9
       “controlling persons” of the Company within the meaning of Section 20(a) of the
10
       Exchange Act. In this capacity, they participated in the unlawful conduct alleged
11
       which artificially inflated the market price of the Company’s securities.
12
             57.    The Individual Defendants, therefore, acted as controlling persons of
13
14     the Company. By reason of their senior management positions, the Individual

15     Defendants had the power to direct the actions of, and exercised the same to cause,
16     the Company to engage in the unlawful acts and conduct complained of herein. The
17     Individual Defendants exercised control over the general operations of the
18     Company and possessed the power to control the specific activities which comprise
19     the primary violations about which Plaintiff and the other members of the Class
20     complain.
21           58.    By reason of the above conduct, the Individual Defendants are liable
22     pursuant to Section 20(a) of the Exchange Act for the violations committed by the
23     Company.
24
                                   PRAYER FOR RELIEF
25
             WHEREFORE, Plaintiff demands judgment against Defendants as follows:
26
27
28                                – 37 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
     Case 2:22-cv-02564-FMO-MRW Document 1 Filed 04/18/22 Page 38 of 38 Page ID #:38




 1           A.     Determining that the instant action may be maintained as a class action
 2     under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as
 3     the Class representative;
 4           B.     Requiring Defendants to pay damages sustained by Plaintiff and the
 5     Class by reason of the acts and transactions alleged herein;
 6           C.     Awarding Plaintiff and the other members of the Class prejudgment
 7
       and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees
 8
       and other costs; and
 9
             D.     Awarding such other and further relief as this Court may deem just and
10
       proper.
11
                               DEMAND FOR TRIAL BY JURY
12
             Plaintiff hereby demands a trial by jury.
13
14
15     Dated: April 18, 2022                  Respectfully submitted,
16                                            THE ROSEN LAW FIRM, P.A.
17                                            /s/ Laurence M. Rosen
                                              Laurence M. Rosen, Esq. (SBN 219683)
18
                                              355 S. Grand Avenue, Suite 2450
19                                            Los Angeles, CA 90071
20                                            Telephone: (213) 785-2610
                                              Facsimile: (213) 226-4684
21                                            Email: lrosen@rosenlegal.com
22
                                              Counsel for Plaintiff
23
24
25
26
27
28                                – 38 –
           CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL
                            SECURITIES LAWS
